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                            UNITED STATES DISTRICT COURT
6                          CENTRAL DISTRICT OF CALIFORNIA
7
8    THE ESTATE OF RUFINO                    Case No.: CV 21-2644-GW-JCx
     PAREDES, TAURINA MARQUEZ, an AMENDED ORDER APPROVING
9
     individual; JASMINE OSORIO, an          MINOR’S COMPROMISE AND
10   individual; D.P., a minor, by and       SETTLEMENT
     through her Parent and Guardian ad      Judge: Hon. George Wu
11
     Litem Jasmine Osorio; D.P., a minor,
12   by and through his Parent and Guardian Complaint Filed: January 16, 2020
     ad Litem Jasmine Osorio; K.P., a minor, Action Removed: March 26, 2021
13
     by and through her Parent and Guardian
14   ad Litem Jennifer Nunez; H.P., a minor,
     by and through her Parent and Guardian
15
     ad Litem Jennifer Nunez; and D.P., a
16   minor, by and through his Parent and
     Guardian ad Litem Azenet Avina,
17
18           Plaintiffs,
19   v.
20   THE COUNTY OF LOS ANGELES, a
     municipal corporation; LOS ANGELES
21   COUNTY SHERIFF’S
     DEPARTMENT; ALEX
22   VILLANUEVA, individually and in his
     Official Capacity as Sheriff of Los
23   Angeles County; SHAWN P.
     MERRICK, an individual; VINCENT
24   RODRIGUEZ, an individual;
     TIFFANY CROWDER-MILLER, an
25   individual; JAMES MacDONALD,
     individually and in his Official Capacity
26   as Sheriff of Los Angeles County,
27           Defendants.
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             AMENDED [PROPOSED] ORDER APPROVING MINOR’S COMPROMISE AND SETTLEMENT
     Case 2:21-cv-02644-GW-JC Document 37 Filed 08/12/22 Page 2 of 4 Page ID #:370




1                   AMENDED ORDER APPROVING PETITION FOR
                    COMPROMISE AND APPROVING SETTLEMENT
2
3          THE COURT FINDS that:
4          Petitioners, mothers and Guardians Ad Litem for the minor plaintiffs, which
5    include Jasmine Osorio, mother and guardian ad litem for the minor plaintiffs D.P.
6    #1, D.P. #2, Jennifer Nunez, mother and guardian ad litem for the minor plaintiffs
7    K.P. and H.P., and Azenet Avina, mother and guardian ad litem for the minor
8    plaintiff D.P. #3, have petitioned the Court for approval of a proposed compromise

9    and settlement in an action against the COUNTY OF LOS ANGELES.

10         On or about March 26, 2021, Plaintiffs the ESTATE OF RUFINO PAREDES;
     TAURINA MARQUEZ; D.P. #1, and D.P. #2, BY AND THROUGH THEIR
11
     GUARDIAN AD LITEM, JASMINE OSORIO; K.P. and H.P., BY AND
12
     THROUGH THEIR GUARDIAN AD LITEM, JENNIFER NUNEZ; and D.P. #3,
13
     BY AND THROUGH HIS GUARDIAN AD LITEM, AZENET AVINA filed an
14
     action against Defendants in Federal Court in the Central District of California.
15
           The details of the action and the damages alleged by Plaintiffs ESTATE OF
16
     RUFINO PAREDES; TAURINA MARQUEZ; D.P. #1, and D.P. #2, BY AND
17
     THROUGH THEIR GUARDIAN AD LITEM, JASMINE OSORIO; K.P. and H.P.,
18
     BY AND THROUGH THEIR GUARDIAN AD LITEM, JENNIFER NUNEZ; and
19
     D.P. #3, BY AND THROUGH HIS GUARDIAN AD LITEM, AZENET AVINA are
20
     set forth in the accompanying PETITION TO APPROVE COMPROMISE AND
21
     SETTLEMENT.
22         The claim or action to be compromised is asserted against COUNTY OF LOS
23   ANGELES. The Court finds that all notices required by law have been given.
24         The Petition is GRANTED and the proposed compromise of the pending action
25   is approved on the terms as set forth herein.
26         The Court approves the $1,900,000.00 settlement.
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              AMENDED [PROPOSED] ORDER APPROVING MINOR’S COMPROMISE AND SETTLEMENT
     Case 2:21-cv-02644-GW-JC Document 37 Filed 08/12/22 Page 3 of 4 Page ID #:371




1          The value of the settlement in favor of Plaintiff D.P #1 minor, by and through
2    his Guardian Ad Litem is $316,666.67, Plaintiff D.P #2 minor, by and through his
3    Guardian Ad Litem is $316,666.67, Plaintiff K.P minor, by and through her
4    Guardian Ad Litem is $316,666.67, Plaintiff H.P minor, by and through his Guardian
5    Ad Litem is $316,666.67, and Plaintiff D.P #3 minor, by and through his Guardian

6    Ad Litem is $316,666.67.

7          The Court reduces the requested percentage of attorney’s fees and fixes the

8    amount of attorneys’ fees for each minor at 33% of the value of each minor’s claim.
     The 40% attorney’s fees provision is appliable to settling adult defendants.
9
           The Court approves the costs of litigation as set forth in the supporting
10
     declarations of Stewart J. Powell and Luis A. Carrillo.
11
           After deducting attorney’s fees (at 33% per claim) and costs of suit, the
12
     balance of the settlement available for D.P #1 is $210,687.17; for D.P #2 is
13
     $210,687.17; for K.P is $210,687.17; for H.P is $210,687.17; and for D.P #3 is
14
     $206,641.01.
15
           The amount of $210,687.17 shall be used to fund a guaranteed structured
16
     settlement annuity that will make scheduled payments directly to Plaintiff D.P #1
17
     as described in the Terms and Conditions of the Annuity for the minor plaintiff
18
     D.P. #1.
19
           The amount of $210,687.17 shall be used to fund a guaranteed structured
20   settlement annuity that will make scheduled payments directly to Plaintiff D.P #2
21   as described in the Terms and Conditions of the Annuity for minor plaintiff D.P.
22   #2.
23         The amount of $210,687.17 shall be used to fund a guaranteed structured
24   settlement annuity that will make scheduled payments directly to Plaintiff K.P as
25   described in the Terms and Conditions of the Annuity for minor plaintiff K.P.
26         The amount of $210,687.17 shall be used to fund a guaranteed structured
27   settlement annuity that will make scheduled payments directly to Plaintiff H.P as
28   described in the Terms and Conditions of the Annuity for minor plaintiff H.P.
                                                 -3-
                AMENDED [PROPOSED] ORDER APPROVING MINOR’S COMPROMISE AND SETTLEMENT
     Case 2:21-cv-02644-GW-JC Document 37 Filed 08/12/22 Page 4 of 4 Page ID #:372




1          The amount of $206,641.01 shall be used to fund a guaranteed structured
2    settlement annuity that will make scheduled payments directly to Plaintiff D.P #3
3    as described in the Terms and Conditions of the Annuity for minor plaintiff D.P.
4    #3.
5
6    Dated: August 12, 2022                       ______________________________
7                                                 HON. GEORGE H. WU.
                                                  U.S. District Judge
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             AMENDED [PROPOSED] ORDER APPROVING MINOR’S COMPROMISE AND SETTLEMENT
